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U.S. DISTRICT COURT alaN
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MAR 17 at 9 . UNITED STATES DISTRICT COURT
TONY R. MADRE) CLERE WESTERN DISTRICT OF LOUISIANA
BY. po BEPUTY LAFAYETTE DIVISION
Kenrard D. Broussard Civil Action 14-00433
La. Doc. #387088
versus Judge Richard T. Haik, Sr.
Avoyelles Correctional Center Magistrate Judge C. Michael Hill
AMENDED JUDGMENT

Before the Court is petitioner’s Traverse To Supplemental Report and
Recommendation [Rec. Doc. 17] objecting to the Magistrate Judge’s Supplemental
Report and Recommendation. The Court adopted the Supplemental Report and
Recommendation without objection on March 6, 2015 and petitioner filed this timely
objection on March 16, 2015. R. 77. In light of its inadvertent mistake, the Court
has considered petitioner’s objection in reconsideration of its March 6, 2015
Judgment and issues the following Amended Judgment:

The Magistrate Judge issued a Report and Recommendation on November 12,
2014 recommending that Petitioner’s habeas corpus action be dismissed as barred by
the one-year limitation period codified at 28 U.S.C. § 2244(d). On November 21,
2014, Petitioner objected to the Report and Recommendation arguing that his August
15, 2014 writ application in the Louisiana Supreme Court was timely filed based on
his May 17, 2014 request for an extension. Petitioner attached to his objection a copy
ofa letter from the Louisiana Supreme Court dated May 21, 2013, assigning a docket
number to his case as well as a copy of his August 15, 2013 writ application. The

Court ordered the Magistrate Judge to review the record regarding Petitioner’s
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objection. On February 5, 2015, the Magistrate Judge ordered the Clerk of the
Louisiana Supreme Court to provide copies of the entire record of Petitioner’s state
court suit. On March 5, 2015, the Magistrate judge issued a Supplemental Report and
Recommendation confirming that Petitioner’s writ application was untimely as the
Louisiana Supreme Court record revealed the court never granted Petitioner’s Motion
for Extension of Time.

For the reasons contained in the Supplemental Report and Recommendation
of the Magistrate Judge previously filed herein, and after an independent review of _
the entire record, including petitioner’s objection entitled, “Plaintiff's Traverse To
Supplemental Report And Recommendation,” the Court concludes that the
Supplemental Report and Recommendation of the Magistrate Judge is correct and
adopts the findings and conclusions therein as its own. Accordingly,

IT IS ORDERED that the Court’s March 6, 2015 Judgment [Rec. Doc. 16] is
VACATED.

IT IS FURTHER ORDERED that Kenrard D. Broussard’s Petition for Writ
of Habeas Corpus Pursuant to Title 28 U.S.C. § 2254 is DENIED AND DISMISSED
WITH PREJUDICE.

Thus done and signed this 17" day of March, 2015 at Lafayette, Louisiana.

 
 

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USS. District Judge

 
